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1                                                     PROOF OF SERVICE1

2               I, Sandra Young, hereby declare as follows:
3               I am employed in the City of La Jolla, County of San Diego, California. I am over the age of 18 years
         and not a party to the within action; and I am employed in the County of San Diego, California, within which
4        county the subject mailing occurred. My business address is 5656 La Jolla Blvd., La Jolla, California 92037.
         On December 13, 2023, I served a true and correct copy of the following document(s):
5
                TRUSTEE’S MOTION TO APPROVE AUCTION PROCEDURES AND FOR AUTHORITY TO
6               SELL ESTATE’S INTEREST IN SETTLEMENT PROCEEDS OF CLASS ACTION LAWSUIT
                PURSUANT TO 11 U.S.C. SECTION 363, FREE AND CLEAR OF LIENS, CLAIMS, AND
7
                INTERESTS; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
8
                DECLARATION OF LESLIE T. GLADSTONE IN SUPPORT OF TRUSTEE’S MOTION TO
9               APPROVE AUCTION PROCEDURES AND FOR AUTHORITY TO SELL ESTATE’S
                INTEREST IN SETTLEMENT PROCEEDS OF CLASS ACTION LAWSUIT PURSUANT TO 11
10              U.S.C. SECTION 363, FREE AND CLEAR OF LIENS, CLAIMS, AND INTERESTS

11              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF TRUSTEE’S MOTION TO APPROVE
                AUCTION PROCEDURES AND FOR AUTHORITY TO SELL ESTATE’S INTEREST IN
12              SETTLEMENT PROCEEDS OF CLASS ACTION LAWSUIT PURSUANT TO 11 U.S.C.
                SECTION 363, FREE AND CLEAR OF LIENS, CLAIMS, AND INTERESTS
13
                NOTICE OF HEARING AND MOTION ON SALE OF PROPERTY FREE AND CLEAR OF
14              LIENS AND INTERESTS

15       on the parties in this action as follows:

16       X       by CM/ECF NOTICE OF ELECTRONIC FILING by causing such document(s) listed above to be
         served through this Court’s electronic transmission facilities via the Notice of Electronic (NEF) and hyperlink,
17       to the parties and/or counsel who are determined this date, December 13, 2023, to be registered CM/ECF Users
18       set forth below as identified on the service list obtained from this Court on the Electronic Mail Notice list.

19             David E Amaya damaya@fisherphillips.com
               Christin A. Batt christinb@flgsd.com, sandray@flgsd.com;candic@flgsd.com;
20              leslieg@flgsd.com;andrewl@flgsd.com;janetg@flgsd.com
               George B. Blackmar gblackmar@bpslaw.net
21             Michael D. Breslauer, Special Notice Attorney for Creditor The Malashock 1981 Truste
                mbreslauer@swsslaw.com, wyones@swsslaw.com
22             Gregory Brown, Special Notice Attorney for Creditor FreshPoint Denver
                gbrown@mccarronlaw.com
23             Jamie Altman Buggy, Special Notice Attorney for Creditor CLPF jbuggy@harvestllp.com,
                jkeatingwolk@cgs3.com
24
               Jeffrey D. Cawdrey, Special Notice Attorney for Creditor PLH Holdings, LLC Series 1
25              jcawdrey@gordonrees.com, sdurazo@grsm.com
               Tad Devlin tdevlin@kdvlaw.com
26             Caroline Djang cdjang@buchalter.com, lverstegen@buchalter.com;docket@buchalter.com

27

28   1   Pursuant to the Order on Emergency Motion For Order Establishing Notice Procedures (ECF No. 30) Noticing is limited.




                                        1                  IN RE GARDEN FRESH RESTAURANTS, LLC, CASE NO. 20-02477-LT7
                                                                                                       Proof of Service
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1         Michael G. Farag mfarag@gibsondunn.com
          Ari Friedman afriedman@robinscloud.com
2         Jerome Bennett Friedman, Special Notice Attorney for Creditor Del Amo Associates.
           jfriedman@flg-law.com, msobkowiak@flg-law.com; jmartinez@flg-law.com; cbryant@flg-law.com
3         Leslie T. Gladstone candic@flgsd.com, christinb@flgsd.com;sandray@flgsd.com;
           ltg@trustesolutions.net;andrewl@flgsd.com;janetg@flgsd.com
4
          Leslie T. Gladstone leslieg@flgsd.com, candic@flgsd.com;sandray@flgsd.com; christinb@flgsd.com;
5          andrewl@flgsd.com;janetg@flgsd.com
          David B. Golubchik dbg@lnbyg.com, dbg@ecf.inforuptcy.com
6         Michael Good, Special Notice Attorney for Creditor SPGG Properties
           mgood@southbaylawfirm.com
7         Michael I. Gottfried mgottfried@elkinskalt.com,
           rzur@elkinskalt.com,cavila@elkinskalt.com,1648609420@filings.docketbird.com
8         Michael S. Greger mgreger@allenmatkins.com
          Sasha M. Gurvitz, Special Notice Attorney for Creditor Cerberus Business Finance LLC
9          sgurvitz@ktbslaw.com
          Arthur Kenneth Hennesay khennesay@allenmatkins.com, ncampos@allenmatkins.com
10
          Brian D. Huben, Special Notice Attorney for Creditor UBS Realty Investors LLC
11         hubenb@ballardspahr.com,
           carolod@ballardspahr.com;zarnighiann@ballardspahr.com;branchd@ballardspahr.com
12        Ashley Brooke Jordan ajordan@reedsmith.com, lsimmonds@reedsmith.com
          Gerald P. Kennedy, Special Notice Attorney for Creditor Bear Realty, LLC
13         gerald.kennedy@procopio.com, kristina.terlaga@procopio.com;calendaring@procopio.com
          Cheryl Kenner, Special Notice Attorney for Creditor Segunda Gonzalez
14         ckenner@shegerianlaw.com, calendarclerk@shegerianlaw.com
          Kaveh Keshmiri kavehkeshmiri@gmail.com
15        Dean T. Kirby dkirby@fsl.law, jwilson@fsl.law
          Robert A. Klyman rklyman@gibsondunn.com
16        Ian S. Landsberg, Special Notice Attorney for Creditor Piazza Carmel and Yaecol Investments
17         ilandsberg@sklarkirsh.com
          Larissa L. Lazarus Larissa@millerlegalcenter.com, mark@millerlegalcenter.com;
18         larissa@millerlegalcenter.com;r52389@notify.bestcase.com;mlmcourtemails@gmail.com;mlmmyecf@g
           mail.com;paralegal@millerlegalcenter.com;mlc@millerlegalcenter.com
19        Gregory Markow jkeatingwolk@cgs3.com
          Jessica Marshall jessica@pacificlawoffice.com
20        Taylor McGrew taylor@theburgesslawgroup.com
          Kevin P Montee, Special Notice Attorney for Creditor Burgundy Bear LTD
21         kmontee@monteefirm.com
          Adam Nach, Special Notice Attorney for Creditor DeRito Talking Stick South LLC
22         adam.nach@lane-nach.com
          Karina Padua karina@calljacob.com
23
          R. Jason Read, Special Notice Attorney for Creditor Schoenmann Produce and Victoria Pacific
24         Trading Corp. Jason@rjlaw.com, angel@rjlaw.com
          Julie H. Rome-Banks, Special Notice Attorney for Creditor Facchino La Barbera Bernal Plaza
25         LLP julie@bindermalter.com
          Gary B. Rudolph, Attorney for Debtor       rudolph@sullivanhill.com, hill@sullivanhill.com;
26         bkstaff@sullivanhill.com; vidovich@ecf.inforuptcy.com;rudolph@ecf.inforuptcy.com;cashman-
           kramer@sullivanhill.com;cashman-kramer@ecf.inforuptcy.com
27        Allan D. Sarver, Special Notice Attorney for Creditor Shapell So Cal Rental Properties
           ads@asarverlaw.com
28        Thomas K. Shanner toby@shannerlaw.com, shannerecf@gmail.com, william@shannerlaw.com;
           SR73965@notify.bestcase.com


                              2                IN RE GARDEN FRESH RESTAURANTS, LLC, CASE NO. 20-02477-LT7
                                                                                           Proof of Service
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1           Jason E. Turner jturner@jturnerlawgroup.com
            United States Trustee ustp.region15@usdoj.gov
2           Gabe Wright, Special Notice Attorney for Creditor Roubin Associates             gwright@hahnlaw.com,
             lmay@hahnlaw.com; cmbeitel@hahnlaw.com;ridebitetto@hahnlaw.com
3           Roye Zur rzur@elkinskalt.com, vrichmond@lgbfirm.com
4
             All other interested parties in this action that are not a registered ECF User are served as follows:
5
     X        by U.S. CERTIFIED MAIL SERVICE, POSTAGE PREPAID SERVICE, (as indicated) by
6    placing each document in a sealed, envelope with postage thereon fully prepaid, for collection and mailing at
     Financial Law Group, La Jolla, California, following ordinary business practices and addressed as set forth
7    below. I am familiar with the practice of Financial Law Group for collection for U.S. mail, said practice being
     that in the ordinary course of business, correspondence is picked up at our office the same day as it is placed for
8    collection. I am aware that on motion of the party served, service is presumed invalid if postal cancellation
     date or postage meter date is more than one day after date of deposit for mailing affidavit.
9
     KTBS Law LLP
10
     1999 Avenue of the Stars, 39th Floor
11   Los Angeles, CA 90067
     Attorneys for Secured Creditor, Cerberus Business Finance LLC
12    VIA U.S. MAIL CERTIFIED MAIL SERVICE,
      RETURN RECEIPT REQUESTED
13
     X       by U.S. FIRST CLASS MAIL SERVICE, POSTAGE PREPAID by placing each document in a
14   sealed, envelope with postage thereon fully prepaid, for collection and mailing at Financial Law Group, La
     Jolla, California, following ordinary business practices and addressed as set forth below. I am familiar with the
15   practice of Financial Law Group for collection for U.S. mail, said practice being that in the ordinary course of
     business, correspondence is picked up at our office the same day as it is placed for collection. I am aware that
16   on motion of the party served, service is presumed invalid if postal cancellation date or postage meter date is
17   more than one day after date of deposit for mailing affidavit.

18   Office of the U.S. Trustee
     880 Front Street, Third Floor, Suite 3230
19   San Diego, CA 92101
     Special Notice
20
     Gary B. Rudolph, Esq.
21   Sullivan Hill Rez & Engel, APLC
     600 B Street, Suite 1700
22   San Diego, CA 92101
     Attorney for Debtor
23

24   David M. Blau
     Clark Hill PLC
25   151 S. Old Woodward Avenue
     Suite 20
26   Birmingham, MI 48009
     Special Notice Attorneys
27

28



                                   3                   IN RE GARDEN FRESH RESTAURANTS, LLC, CASE NO. 20-02477-LT7
                                                                                                   Proof of Service
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1     David A. Sosne, Esq.
      SUMMERS COMPTON WELLS LLC
2     8909 Ladue Road St.
      Louis, MO 63124
3    Special Notice Attorneys
4
      Christine E. Baur, Esq.
5     LAW OFFICE OF CHRISTINE E. BAUR
      4653 Carmel Mountain Road
6     Suite 308 #332
      San Diego, CA 92130
7    Special Notice Attorneys

8     Hoppe Properties, LLC
      8070 La Jolla Shores Dr, PMB 610,
9     La Jolla, CA 92037
     Special Notice Creditor
10

11    Ernie Zachary Park
      BEWLEY, LASSLEBEN & MILLER, LLP
12    13215 E. Penn Street
      Suite 510
13    Whittier, CA 90602-1797
     Special Notice Attorneys
14
      Kevin M. Lippman, Esq.
15    Munsch Hardt Kopf & Harr, P.C.
      500 N. Akard Street, Suite 3800
16    Dallas, Texas 75201
17   Special Notice Attorneys

18    Ken Burton
      1001 3rd Ave. W, Suite 240
19    Manatee County Tax Collector
      Bradenton, FL 34205-7863
20   Special Notice Attorneys

21    James B. Holden
      Colorado Department of Law
22    1300 Broadway, 8th Fl
      Denver, CO 80203
23
     Special Notice Attorneys
24
      G. Andrews Slater
25    DOWLING AARON, INC.
      8080 North Palm Avenue, Third Floor
26    Fresno, CA 93711
     Special Notice Attorneys
27

28



                                 4              IN RE GARDEN FRESH RESTAURANTS, LLC, CASE NO. 20-02477-LT7
                                                                                            Proof of Service
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1     Texas Comptroller of Public Accounts, Revenue Accounting Division and Texas Workforce Commission
      Courtney J. Hull
2     c/o Sherri Simpson, Paralegal
      PO Box 12548
3     Austin, TX 78711-2548
     Special Notice Attorneys
4

5     Melissa E. Valdez
      Perdue Brandon Feilder Collins & Mott, L
6     1235 North Loop West, Suite 600
      Houston, TX 77008
7    Special Notice Attorneys

8     Michael R. Gibson, Esq.
      HIGGS FLETCHER & MACK, LLP
9     401 West A Street, Suite 2600
      San Diego, CA 92101
10
     Special Notice Attorneys
11

12          I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.
13
            Executed December 13, 2023, at La Jolla, California.
14                                                                 /s/ Sandra Young
15                                                                 Sandra Young

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                                 5                 IN RE GARDEN FRESH RESTAURANTS, LLC, CASE NO. 20-02477-LT7
                                                                                               Proof of Service
